Case 2:04-cr-20308-.]PI\/| Document 38 Filed 06/23/05 Pagelon Page|D

IN THE UNITED sTATES DISTRICT CoURT FlI-EU ~f h D-C.
FoR THE wEsTERN DISTRICT oF TENNESSEE _
WESTERN DIVIsIoN 05 JUN 23 AH 1\- bc

 

ROBE`RT R. D`: ';Fi_C‘LlO
CL\EF<K, U.S. Di$`i. CT.

UNITED STATES OF AMERICA, W.D_ 09 TN, mEMPHis
Plaintiff,

VS. CR. NO. 04-20308

CLARENCE PEGUES,
Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE REPORT SETTING

 

This cause came on upon the motion of the Defendant to continue the report setting
scheduled for June 24, 2005 at 9:00 a.rn. For good cause shown, the Cou.rt hereby grants the
Defendant’s motion and waives counsel’s presence at this setting.

IT ls so om)ERED this p?Q day of.hme, 2005.

mt dod

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J on McCalla
US DISTRICT COURT

